                IN THE UNITED STATES DISTRICT COURT
              FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

THE UNITED STATES OF         :                CIVIL ACTION NO. 1:20-CV-599
OF AMERICA ex rel. JESSE M.  :
POLANSKY, M.D., M.P.H.,      :                (Judge Conner)
                             :
                 Plaintiff   :
                             :
          v.                 :
                             :
GEISINGER HOLY SPIRIT,       :
GEISINGER COMMUNITY MEDICAL :
CENTER, GEISINGER MEDICAL    :
CENTER, and SPIRIT PHYSICIAN :
SERVICES, INC..,             :
                             :
                 Defendants  :

                                      ORDER

      AND NOW, this 9th day of February, 2024, upon consideration of the

“stipulation” (Doc. 46) to extend the time in which defendants Geisinger

Community Medical Center and Geisinger Medical Center may answer or otherwise

respond to plaintiff’s complaint by 60 days, which the court construes as a

concurred-in motion for extension of time, it is hereby ORDERED that:

      1.     The concurred-in motion (Doc. 46) for extension of time is GRANTED
             as construed.

      2.     Geisinger Community Medical Center and Geisinger Medical Center
             shall answer or otherwise respond to plaintiff’s complaint on or before
             Monday, April 8, 2024.

      3.     The parties are directed to file any future requests for extensions of
             time by formal motion.

                                       /S/ CHRISTOPHER C. CONNER
                                       Christopher C. Conner
                                       United States District Judge
                                       Middle District of Pennsylvania
